     Case 6:18-ap-01089-MH          Doc 68 Filed 04/30/19 Entered 04/30/19 13:45:54                    Desc
                                     Main Document    Page 1 of 5



 1
     Damian P. Richard, Esq. (SBN 262805)
 2   SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 3   1545 Hotel Circle South, Suite 150
     San Diego, CA 92108-3426
 4
     Tel: 619/758-1891
 5   Fax: 877/334-0661
 6
     drichard@sessions.legal
     Attorneys for Defendants
 7   National Collegiate Student Loan Trust 2006-1,
 8   National Collegiate Student Loan Trust 2006-4,
     National Collegiate Student Loan Trust 2007-4
 9
     (erroneously sued as National Collegiate Student Loan Trust 2007-1)
10
                           UNITED STATES BANKRUPTCY COURT
11
                            CENTRAL DISTRICT OF CALIFORNIA
12
     IN RE:                                            )   Case No. 16-BK-30625-MH
13
                 JOHN MARTIN MATA                      )
14               LIVIER MATA                           )   Chapter 7
                                                       )
15
                                                       )   Adversary No. 6:18-AP-01089-MH
16   JOHN M. MATA,                                     )
                                  Plaintiff,           )   DEFENDANT’S NOTICE OF
17
           vs.                                         )   SUPPLEMENTAL AUTHORITY IN
18                                                     )   SUPPORT OF MOTION FOR
     NATIONAL COLLEGIATE                               )   SUMMARY JUDGMENT
19
     STUDENT LOAN TRUST 2006-1, et                     )
20   al.                                               )
21
                     Defendants.                       )
22   TO THE COURT AND ALL COUNSEL OF RECORD:
23         Defendants, National Collegiate Student Loan Trust 2006-1, National
24   Collegiate Student Loan Trust 2006-4 and National Collegiate Student Loan Trust
25   2007-4 (“NCSLT”) respectfully submit this Notice of Supplemental Authority
26
     regarding the attached U.S. Bankruptcy Appellate Panel of the Tenth Circuit
27
     decision in In re Francis, 385 B.R. 800 (B.A.P. 10th Cir. 2008) (“Francis’ position
28
     is contrary to the plain language of the statute. The statute applies to a “loan . . .

              Defendants’ Notice of Supplemental Authority in Support of Motion for Summary Judgment
                                                         1
     Case 6:18-ap-01089-MH         Doc 68 Filed 04/30/19 Entered 04/30/19 13:45:54                    Desc
                                    Main Document    Page 2 of 5



 1   made under any program funded in whole or in part by a . . . nonprofit institution.”
 2   The statutory language is clear that whether a loan is of a character included within
 3   the exception is determined as of the time the loan is made. That means the time for
 4
     making the determination is when Francis applied for and received the funds in
 5
     question, not when he filed for bankruptcy or when he filed this adversary
 6
     proceeding.”)
 7

 8   Date: April 30, 2019                  SESSIONS FISHMAN NATHAN & ISRAEL, L.L.P.
                                           /s/Damian Richard
 9
                                           Damian Richard, Esq.
10                                         Attorney for Defendants
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




             Defendants’ Notice of Supplemental Authority in Support of Motion for Summary Judgment
                                                        2
    Case 6:18-ap-01089-MH
In re Francis, 385 B.R. 800 (2008)
                                      Doc 68 Filed 04/30/19 Entered 04/30/19 13:45:54                         Desc
                                       Main Document    Page 3 of 5

                                                             14, 2005, Francis and his wife filed a joint Chapter
                       385 B.R. 800
                                                             7 bankruptcy petition, and received a discharge of all
                                                             "eligible debts" on January 18, 2006. Sallie Mae continued
              Unpublished Disposition
                                                             its collection efforts with regard to the delinquent Loans.
  NOTICE: THIS IS AN UNPUBLISHED OPINION.
     This disposition appears in the Bankruptcy
                                                             Francis then commenced this adversary proceeding on
   Reporter. See CTAio BAP Rule 8026-6 for rules
                                                             June 29, 2007, seeking a determination that the Loans
   regarding the citation of unpublished decisions.
                                                             had been discharged by the court's prior discharge order.
         United States Bankruptcy Appellate
                                                             He contended that because the Loans were currently
              Panel of the Tenth Circuit.
                                                             held by Sallie Mae they constituted "private student
      In re Dennis Eugene FRANCIS, Debtor.                   loans," and therefore, were not subject to § 523(a)(8)'s
     Dennis Eugene Francis, Plaintiff—Appellant,             exception from discharge. Sallie Mae filed its motion
                          v.                                 for summary judgment pursuant to Federal Rule of
                                                             Bankruptcy Procedure 7056 and Federal Rule of Civil
       Sallie Mae, Inc., Defendant—Appellee.
                                                             Procedure 56, arguing the Loans were made under a
                  BAP No. WY-08-015.                         program funded in part by a nonprofit institution, and as
                                                             a result, were subject to the limitations on dischargeability
                Bankruptcy No. 05-22882.                     imposed by § 523(a)(8).

                Adversary No. 07-02038.                      A hearing on Sallie Mae's motion for summary judgment
                                                             was held on December 27, 2007. Although Francis
                       May 6, 2008.                          filed an objection to the motion, he did not appear at
                                                             the hearing. With its motion for summary judgment,
Appeal from the United States Bankruptcy Court for the       Sallie Mae submitted materials demonstrating that the
District of Wyoming.                                         Loans were in fact made pursuant to the Program.
                                                             Further, Sallie Mae provided materials evincing that
Before BOHANON, CORNISH, and MICHAEL,                        the Program was established under the LAWLOANS
Bankruptcy Judges. 1                                         Multiparty Agreement which was entered into by various
                                                             entities, including a nonprofit organization, the Higher
                                                             Education Assistance Foundation (HEAF). Under the
             ORDER AND JUDGMENT *                            agreement, HEAF was responsible for insuring loans
                                                             made by the Program, providing the customer service
MICHAEL, Bankruptcy Judge.                                   component of the Program, and receiving and processing
                                                             all loan applications submitted to the Program.
*1 Debtor Dennis Eugene Francis ("Francis") appeals
the bankruptcy court's summary judgment order                Finding there were no disputed issues of material fact,
determining that his student loan debt to Sallie Mae, Inc.   the bankruptcy court granted Sallie Mae's motion for
("Sallie Mae") is nondischargeable pursuant to 11 U.S.C.     summary judgment. The bankruptcy court ruled that the
§ 523(a)(8). 2 Having reviewed the record and applicable     participation of the nonprofit organization HEAF in the
law, we affirm.                                              Program subjected the loans to § 523(a)(8)'s exception, and
                                                             thus the Loans were not discharged. Francis now appeals.

I. FACTUAL BACKGROUND
Between May 31, 1989, and October 2, 1991,                   II. APPELLATE JURISDICTION
Francis obtained three loans (the "Loans") from the          This Court has jurisdiction to hear timely-filed
LAWLOANS Program ("Program") for purposes of                 appeals from "final judgments, orders, and decrees" of
financing his law school education. Sallie Mae is the        bankruptcy courts within the Tenth Circuit, unless one
current holder of the Loans, the outstanding balances        of the parties elects to have the district court hear the
of which total approximately $19,202.64. On October          appeal. 3 Neither party elected to have this appeal heard



 WESTLAW © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                           1
In reCase  6:18-ap-01089-MH
     Francis, 385 B.R. 800 (2008)
                                         Doc 68 Filed 04/30/19 Entered 04/30/19 13:45:54                         Desc
                                          Main Document    Page 4 of 5

by the United States District Court for the District         Thus, at the time Francis filed his bankruptcy petition,
of Wyoming. The parties have therefore consented to          completely private student loan transactions made by for-
appellate review by this Court.                              profit corporations were not subject to § 523(a)(8). 9

 *2 A decision is considered final "if it 'ends the          On appeal, Francis contends only as follows:
litigation on the merits and leaves nothing for the court
to do but execute the judgment.' "4 In this adversary
proceeding, the bankruptcy court determined that Sallie
Mae's claim against Francis for student loan debt could                   The loans in question, while
not be discharged. Nothing remains for the lower court's                  originally in a program called the
consideration. Thus, the order of the bankruptcy court is                 law loans program, are currently in
final for purposes of review.                                             a program called law student and
                                                                          funded in whole by Salle Mae, a
                                                                          for profit corporation. By failing to
III. STANDARD OF REVIEW                                                   determine what loan program the
A ruling on summary judgment is reviewed de novo,                         loans are in as of the time of filing the
applying the same legal standard used by the bankruptcy                   adversary petition the Bankruptcy
court. 5 Summary judgment is appropriate "if the                          court can not determine if the loans
pleadings, depositions, answers to interrogatories, and                   are issued by a program funded in
admissions on file, together with the affidavits, if any,                 whole or in part by a non-profit
show that there is no genuine issue as to any material                    institution. 10
fact and that the moving party is entitled to judgment as
a matter of law." 6 "In reviewing a summary judgment
motion, the court is to view the record 'in the light most
                                                             Sallie Mae responds that the applicability of § 523(a)(8)
favorable to the nonmoving party.' " 7                       hinges upon the character of the Loans at the time they
                                                             were made, not the character of the Loans on the date
                                                             Francis filed his bankruptcy petition or his adversary
IV. ANALYSIS
The issue on appeal is whether there is a genuine issue of   petition. 11 We agree with Sallie Mae.
fact regarding whether the Loans fall within the § 523(a)
(8) exception to discharge. Section 523(a)(8) provides as    First, Francis cites to no authority supporting his position
follows:                                                     that the relevant time for determining the character of
                                                             the Loans is when the nondischargeability adversary
  (a) A discharge under section 727, 1141, 1228(a),          proceeding was filed. Further, Francis sets forth no
  1228(b), or1328(b) of this title does not discharge an     argumentation explaining such position. " IA] litigant
  individual debtor from any debt—                           who fails to press a point by supporting it with pertinent
                                                             authority, or by showing why it is sound despite a lack of
                                                             supporting authority or in the face of contrary authority,

  (8) for an educational benefit overpayment or loan         forfeits the point.' " 12
  made, insured or guaranteed by a governmental unit,
  or made under any program funded in whole or in part        *3 More importantly, Francis' position is contrary to
  by a governmental unit or nonprofit institution, or for    the plain language of the statute. The statute applies to a
  an obligation to repay funds received as an educational    "loan ... made under any program funded in whole or in
  benefit, scholarship or stipend, unless excepting such     part by a governmental unit or nonprofit institution." 13
  debt from discharge under this paragraph will impose       The statutory language is clear that whether a loan is of a
  an undue hardship on the debtor and the debtor's           character included within the exception is determined as of
  dependents[.] 8                                            the time the loan is made. That means the time for making
                                                             the determination is when Francis applied for and received
                                                             the funds in question, not when he filed for bankruptcy


 WESTLAW © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                            2
      Case 6:18-ap-01089-MH
In re Francis, 385 B.R. 800 (2008)
                                           Doc 68 Filed 04/30/19 Entered 04/30/19 13:45:54                               Desc
                                            Main Document    Page 5 of 5

                                                                     entitled to judgment as a matter of law. Therefore, the
or when he filed this adversary proceeding. Francis' only
argument on appeal has no merit.                                     bankruptcy court correctly granted summary judgment in
                                                                     favor of Sallie Mae, and its order is hereby affirmed.
In this case, Francis does not deny that the Loans were
originally made under the Program. 14 Nor does he
dispute, as concluded by the bankruptcy court, that the                                      JUDGMENT
Program was a "program funded in whole or in part by
                                                                     This case originated in the United States Bankruptcy
a governmental unit or nonprofit institution." Because
                                                                     Court for the District of Wyoming.
Francis does not raise this as an issue on appeal, we need
not review the bankruptcy court's conclusion.
                                                                     The judgment of that court is AFFIRMED.

V. CONCLUSION
                                                                     All Citations
The bankruptcy court was not presented with a genuine
issue as to any material fact and the moving party was               385 B.R. 800 (Table), 2008 WL 2019594


Footnotes
1       The parties did not request oral argument, and after examining the brief sand appellate record, the Court has determined
        unanimously that oral argument would not materially assist in the determination of this appeal. Fed. R. Bankr.P. 8012.
        The case is therefore ordered submitted without oral arguMent.
*       This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral
        estoppel. 10th Cir. BAP L.R. 8018-6(a).
2       Unless otherwise indicated, all future statutory references are to the Bankruptcy Code, Title 11 of the United States Code
        prior to enactment of the Bankruptcy Abuse Prevention and Consumer Protection Act ("BAPCPA") of 2005.
3       28 U.S.C. § 158(a)(1), (b)(1), and (c)(1); Fed. R. Bankr.P. 8002; 10th Cir.BAP L.R. 8001-1(a) & (d).
4       Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 712 (1996) (quoting Catlin v. United States, 324 U.S. 229, 233 (1945)).
5       Kojima v. Grandote Intl Ltd. Liability Co. (In re Grandote Country Club Co., Ltd.), 252 F.3d 1146, 1149 (10th Cir.2001).
6       Fed.R.Civ.P. 56(c).
7       Grandote, 252 F.3d at 1149 (quoting Thoumir v. Meyer, 909 F.2d 408, 409(10th Cir.1990)).
8       11 U.S.C. § 523(a)(8). At no time has Francis raised the issue of undue hardship.
9       But see § 523(a)(8) as amended by the BAPCPA of 2005, which added private student loans to the discharge exception.
10      Appellant's Br. at 3-4 (citation omitted).
11      Appellee's Br. at 8.
12      Tran v. Trustees of State Colls. in Co/o., 355 F.3d 1263, 1266 (10th Cir.2004) (quoting Phillips v. Calhoun, 956 F.2d
        949, 953-54 (10th Cir.1992)).
13      11 U.S.C. § 523(a)(8) (emphasis added).
14      See footnote 9, supra, and accompanying text. In his brief, Francis also states: "Sallie Mae's website ... identifies the loan
        program to be something other than the LAWLOANS program that the loans were originally issued under." Appellant's Br.
        at 4-5. In fact, even in his "Plaintiffs Resistance to Motion for Summary Judgment," Francis states: "Sallie Mae currently
        holds loans that originally were issued under the Law Loans program." Appellant's App. at 17.



End of Document                                                  © 2019 Thomson Reuters. No claim to original U.S. Government Works.




    WESTLAW © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                                    3
